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April 7, 2020




ExxonMobil Reduces 2020 Capex by 30%,
Cash Opex by 15%; Maintains Long-Term
Outlook
IRVING, Texas--(BUSINESS WIRE)-- ExxonMobil said today it is reducing its 2020 capital
spending by 30 percent and lowering cash operating expenses by 15 percent in response to
low commodity prices resulting from oversupply and demand weakness from the COVID-19
pandemic.

Capital investments for 2020 are now expected to be about $23 billion, down from the
previously announced $33 billion. The 15 percent decrease in cash operating expenses is
driven by deliberate actions to increase efficiencies and reduce costs, and includes expected
lower energy costs.

“After a thorough evaluation of the impacts of the pandemic and market conditions, we have
worked closely with business partners to plan and execute capital adjustments that preserve
long-term value, maximize cost efficiency, and put us in the strongest position when market
conditions improve,” said Darren Woods, chairman and chief executive officer of Exxon
Mobil Corporation.

“The long-term fundamentals that underpin the company’s business plans have not changed
-- population and energy demand will grow, and the economy will rebound. Our capital
allocation priorities also remain unchanged. Our objective is to continue investing in
industry-advantaged projects to create value, preserve cash for the dividend and make
appropriate and prudent use of our balance sheet.”

ExxonMobil continues to monitor market developments and can exercise additional
reduction options if required. As market conditions evolve, the company will continue
evaluating the impacts of decreased demand on its 2020 production levels as well as longer-
term production impacts.

The largest share of the capital spending reduction will be in the Permian Basin, where
short-cycle investments can be more readily adjusted to respond to market conditions, while
preserving value over the long term. Reduced activity will affect the pace of drilling and well
completions until market conditions improve. Importantly, the reductions will not compromise
the scale, functional excellence and cube development advantages that are maximizing
resource recovery and value in the Permian.

Developing the numerous world-class deepwater discoveries offshore Guyana remains an
integral part of ExxonMobil’s long-term growth plans. Current operations onboard the Liza
Destiny production vessel are unaffected, and startup of the second phase of field
development remains on target for 2022, with the Liza Unity production vessel currently
under construction. As the company waits for government approval to proceed with a third
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production vessel for the Payara development, some 2020 activities are now being deferred,
creating a potential delay in production startup of six to 12 months.

A final investment decision for the Rovuma liquefied natural gas (LNG) project in
Mozambique, expected later this year, has been delayed. ExxonMobil continues to actively
work with its partners and the government to optimize development plans by improving
synergies and exploring opportunities related to the current lower-cost environment. The
Coral LNG development continues as planned.

Globally, ExxonMobil anticipates industry refinery output will decline in line with demand and
available storage, and it will maintain the ability to return to normal operations as demand
recovers. Timing of expansion plans for select downstream and chemical facilities across the
company’s portfolio will be adjusted to capture efficiencies, slow spending pace and better
align with a return in commodity demand.

Despite the reductions, ExxonMobil expects to meet its projected investment of $20 billion
on U.S. Gulf Coast manufacturing facilities made in its 2017 Growing the Gulf initiative. The
company also expects to reach its proposed U.S. investment of $50 billion over five years
announced in 2018.

“While COVID-19 has had a significant impact on the global economy, we are confident that
trade, transportation and manufacturing will recover,” said Woods. “ExxonMobil continues to
invest in the projects that will position us to support economic recovery and capture value for
our shareholders.”

To minimize risks presented by COVID-19 and maintain operations, ExxonMobil has
implemented enhanced cleaning procedures and modified work practices at sites around the
world.

The company is maximizing production of products critical to the global response, including
isopropyl alcohol, which is used to manufacture hand sanitizer, and polypropylene, which is
used to make protective masks, gowns and wipes. ExxonMobil is also supporting efforts to
redesign and accelerate production of reusable face masks and shields to help alleviate the
shortage for medical workers and first responders.

“I’m proud of our company’s response efforts,” said Woods. “On our offshore platforms, in
our refineries, at our lubes and chemical plants and throughout our facilities worldwide, our
people are getting the job done and meeting the world’s needs for our products while
protecting themselves and others. I commend our organization for their continued focus
during these difficult circumstances.”

About ExxonMobil

ExxonMobil, one of the largest publicly traded international energy companies, uses
technology and innovation to help meet the world’s growing energy needs. ExxonMobil holds
an industry-leading inventory of resources, is one of the largest refiners and marketers of
petroleum products, and its chemical company is one of the largest in the world. To learn
more, visit exxonmobil.com and the Energy Factor.

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CAUTIONARY STATEMENT

Statements of future events or conditions in this release are forward-looking statements.
Actual future results, including capital and operating expense reductions; project plans,
timing, and outcomes; resource recoveries and production rates and timing; future business
results including cash flows, dividends, and shareholder returns; accounting effects resulting
from market developments and ExxonMobil’s responsive actions; and impacts of the
COVID-19 pandemic on ExxonMobil’s business, and results, could differ significantly
depending on a number of factors including supply and demand for oil, gas, and petroleum
products and other market factors affecting oil, gas, and petroleum product prices; the
outcome of government policies and actions, including actions taken to address COVID-19
and to maintain the functioning of national and global economies and markets; the ultimate
impact of COVID-19 on people and economies; the impact of company actions to protect the
health and safety of employees, vendors, customers, and communities; actions of
competitors and commercial counterparties; the ability to access short- and long-term debt
markets on a timely and affordable basis; the actions of consumers; the timely completion of
development projects; other legal and political factors including obtaining necessary permits
and changes in tax or environmental laws; unexpected operating events or technical
difficulties; the outcome of commercial negotiations including negotiations with governments,
private partners, and vendors; and other factors discussed under Item 1A Risk Factors in
ExxonMobil’s most recent annual report on Form 10-K and set forth under the heading
“Factors Affecting Future Results” on the Investors page of our website at exxonmobil.com.
Statements regarding potential future financial or operating results made at the
Corporation’s March 5, 2020 Investor Day should not be considered to be updated or re-
affirmed as of any later date except to the extent specifically updated or re-affirmed in this
release or in subsequent public disclosures. References to oil-equivalent barrels and other
quantities of oil and gas in this release include amounts that are not yet classified as proved
reserves under U.S. SEC regulations but which are expected ultimately to be recovered.
References to projects in this release may refer to a variety of activities and are not intended
to correspond to the term as used on in any government payment transparency reports.

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